     Case: 1:22-cv-04227 Document #: 6 Filed: 08/11/22 Page 1 of 1 PageID #:813




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MOOSE LABS LLC,
                                                     Case No. 22-cv-04227
                       Plaintiff,

       v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                       Defendants.


                             NOTIFICATION OF AFFILIATES

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 3.2, Plaintiff Moose Labs LLC, by and

through its undersigned counsel, certifies that it is a privately held limited liability company

having affiliates Jason Rush, Daniel Rush, Linda Rush, and Maria Testa.

Dated this 11th day of August 2022.         Respectfully submitted,


                                            /s/ Justin R. Gaudio
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            Jake M. Christensen
                                            Thomas J. Juettner
                                            Greer, Burns & Crain, Ltd.
                                            300 South Wacker Drive, Suite 2500
                                            Chicago, Illinois 60606
                                            312.360.0080 / 312.360.9315 (facsimile)
                                            aziegler@gbc.law
                                            jgaudio@gbc.law
                                            jchristensen@gbc.law
                                            tjjuettner@gbc.law

                                            Counsel for Plaintiff Moose Labs LLC
